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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

QORVO, INC.,                                   )
                                               )
                      Plaintiff,               )
                                               )
       v.                                      )     C.A. No. 21-1417 (JPM)
                                               )
AKOUSTIS TECHNOLOGIES, INC. and                )
AKOUSTIS, INC.,                                )
                                               )
                      Defendants.              )

 PLAINTIFF QORVO, INC’S MOTION FOR PERMANENT INJUNCTION AGAINST
    DEFENDANTS AKOUSTIS TECHNOLOGIES, INC. AND AKOUSTIS, INC.

       Plaintiff Qorvo, Inc. (“Qorvo”) hereby moves for entry of a permanent injunction against

Defendants Akoustis Technologies, Inc. and Akoustis, Inc. (collectively, “Akoustis”) to prohibit

Akoustis from the continuing misappropriation of Qorvo’s trade secrets and infringement of

Qorvo’s patents. As set forth in Qorvo’s Opening Brief, each of the equitable factors weighs in

favor of granting the requested permanent injunctive relief against Akoustis. A Proposed Order is

respectfully submitted herewith.




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                                          MORRIS, NICHOLS, ARSHT & TUNNELL LLP

                                          /s/ Jeremy A. Tigan
                                          _____________________________________
                                          Jack B. Blumenfeld (#1014)
                                          Jeremy A. Tigan (#5239)
                                          Anthony D. Raucci (#5948)
OF COUNSEL:                               1201 North Market Street
                                          P.O. Box 1347
Robert M. Masters                         Wilmington, DE 19899-1347
Jonathan R. DeFosse                       (302) 658-9200
Timothy P. Cremen                         jblumenfeld@morrisnichols.com
Roy D. Jung                               jtigan@morrisnichols.com
SHEPPARD, MULLIN, RICHTER                 araucci@morrisnichols.com
  & HAMPTON LLP
2099 Pennsylvania Avenue, NW, Suite 100   Attorneys for Plaintiff Qorvo, Inc.
Washington, DC 20006-6801
(202) 747-1900

Eric K. Gill
Zachary Alper
Theodore Mayer
SHEPPARD, MULLIN, RICHTER
  & HAMPTON LLP
12275 El Camino Real, Suite 100
San Diego, CA 92130-4092
(858) 720-8900

James C. Wald
Kazim A. Naqvi
SHEPPARD, MULLIN, RICHTER
  & HAMPTON LLP
1901 Avenue of the Stars, 16th Floor
Los Angeles, CA 90067
(310) 228-3700

Jennifer Klein Ayers
SHEPPARD, MULLIN, RICHTER
  & HAMPTON LLP
2200 Ross Avenue, 20th Floor
Dallas, TX 75201
(469) 391-7400

June 17, 2024




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                                CERTIFICATE OF SERVICE

       I hereby certify that on June 17, 2024, I caused the foregoing to be electronically filed with

the Clerk of the Court using CM/ECF, which will send notification of such filing to all registered

participants.

       I further certify that I caused copies of the foregoing document to be served on

June 17, 2024, upon the following in the manner indicated:

Stephen B. Brauerman, Esquire                                            VIA ELECTRONIC MAIL
Ronald P. Golden III, Esquire
BAYARD, P.A.
600 North King Street, Suite 400
Wilmington, DE 19801
Attorneys for Defendants Akoustis
Technologies, Inc. and Akoustis, Inc.

Ronald S. Lemieux, Esquire                                               VIA ELECTRONIC MAIL
David S. Elkins, Esquire
Victoria Q. Smith, Esquire
SQUIRE PATTON BOGGS (US) LLP
1841 Page Mill Road, Suite 150
Palo Alto, CA 94304-1216
Attorneys for Defendants Akoustis
Technologies, Inc. and Akoustis, Inc.

Xiaomei Cai, Esquire                                                     VIA ELECTRONIC MAIL
SQUIRE PATTON BOGGS (US) LLP
2325 E. Camelback Road, Suite 700
Phoenix, AZ 85016
Attorneys for Defendants Akoustis
Technologies, Inc. and Akoustis, Inc.

Rachael A. Harris, Esquire                                               VIA ELECTRONIC MAIL
Matthew A. Stanford, Esquire
SQUIRE PATTON BOGGS (US) LLP
2550 M Street, NW
Washington, DC 20037
Attorneys for Defendants Akoustis
Technologies, Inc. and Akoustis, Inc.
                                                      /s/ Jeremy A. Tigan

                                                      Jeremy A. Tigan (#5239)
